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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No. 23-cv-00939-DDD-SKC

  BELLA HEALTH AND WELLNESS, on behalf of itself and its patients, et. al.

         Plaintiffs,

  v.

  PHIL WEISER, in his official capacity as Attorney General of Colorado, et. al.

       Defendants.
  _____________________________________________________________________

          UNOPPOSED MOTION FOR EXTENSION OF TIME TO RESPOND
         TO PLAINTIFFS’ VERIFIED COMPLAINT AND DEMAND FOR JURY
                   TRIAL FROM DEFENDANT BETH MCCANN
  ______________________________________________________________________

         Defendant Beth McCann, in her official capacity as District Attorney of the Second

  Judicial District of Colorado, by and through her counsel, Andrew D. Ringel, Esq., of Hall

  & Evans, L.L.C., hereby respectfully submits this Unopposed Motion for Extension of

  Time to Respond to Plaintiffs’ Verified Complaint and Demand for Jury Trial, as follows:

         1.      Pursuant to D.C.Colo.LCiv.R. 7.1(A), prior to filing this Motion, the

  undersigned counsel conferred with counsel for the Plaintiffs, Rebekah P. Ricketts, Esq.

  Ms. Ricketts indicated Plaintiffs do not object to this Motion.

         2.      Defendant Beth McCann was served with a summons and the Plaintiffs’

  Verified Complaint and Demand for Jury Trial (“Plaintiffs’ Complaint”) on April 17, 2023.

  [ECF 18]. Accordingly, pursuant to the applicable Federal Rules of Civil Procedure,

  Defendant McCann’s response to Plaintiffs’ Complaint is due on or before May 8, 2023.
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         3.     The undersigned counsel requires some additional time to further

  investigate the allegations in the Plaintiffs’ Complaint, develop a strategy for the continued

  defense of this matter with Defendant McCann, and implement that strategy. Accordingly,

  Defendant McCann respectfully requests an extension of twenty-two (22) days until and

  including May 30, 2023, to respond to Plaintiffs’ Complaint.

         4.     No party will be prejudiced by this extension of time. In particular, all the

  State of Colorado Defendants waived service and their responses to the Plaintiffs’

  Complaint are not due until June 15, 2023. [ECF 15].

         5.     Pursuant to D.C.Colo.LCiv.R. 6.1(c), the undersigned counsel has served

  his client with a copy of this Motion as reflected on the certificate of service.

         WHEREFORE, for all the foregoing reasons, Defendant Beth McCann hereby

  respectfully requests an extension of time until and including May 30, 2023, to respond

  to Plaintiffs’ Verified Complaint and Demand for Jury Trial, and for all other and further

  relief as this Court deems just and appropriate.

                Dated this 2nd day of May, 2023,

                                             Respectfully submitted,


                                             /s/ Andrew D. Ringel
                                             Andrew D. Ringel, Esq.
                                             of Hall & Evans, L.L.C.
                                             1001 17th Street, Suite 300
                                             Denver, CO 80202
                                             Phone: 303-293-3220
                                             Fax:     303-628-3368
                                             ringela@hallevans.com

                                             ATTORNEY FOR DEFENDANT
                                             BETH MCCANN


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                          CERTIFICATE OF SERVICE (CM/ECF)

         I HEREBY CERTIFY that on the 2nd day of May, 2023, I electronically filed the
  foregoing with the Clerk of Court using the CM/ECF system which will send notification of
  such filing to via email to all counsel of record in this matter.


  and also served the following non-CM/ECF participant via email:

  Beth McCann




                                           /s/ Nicole Marion, Legal Assistant of
                                           Andrew D. Ringel




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